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                              UNITED STATES DISTRICT COURT
                             CENTRAL DISTRICT OF CALIFORNIA

                              CRIMINAL MINUTES -- SENTENCING

Case No.     CR 18-345-JFW                                                  Dated: March 8, 2019

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PRESENT: HONORABLE JOHN F. WALTER, UNITED STATES DISTRICT JUDGE

      Shannon Reilly                       Miranda Algorri                  Jeff P. Mitchell
     Courtroom Deputy                      Court Reporter                 Asst. U.S. Attorney
                                                                              present
                                             Interpreter

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U.S.A. vs (Dfts listed below)                Attorneys for Defendants

1)    John Saro Balian                                       1)   Craig Missakian
      present in custody                                          present - retained

______________________________________________________________________________

PROCEEDINGS:        SENTENCING

Case called, and counsel make their appearance.

Court imposes sentence on defendant. For the terms and conditions of the sentence, refer to
Judgment and Probation/Commitment Order.

Statement of Reasons processed.

Judgment entered, filed and distributed.


CC: USPO, PSA, USM




                                                                              Initials of Deputy Clerk sr
                                                                                           1/20
